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                              Exhibit A
     Letter from Gloria Echegoyen Miranda
         (Mr. Bonilla-Echegoyen’s Mother)
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                                     Gloria Echegoyen Miranda
                                                Winnetka, CA.


July 27, 2020

To:    The Honorable
       John A. Kronstadt
       United States District Judge

Re: Anderson Samuel (Sam) Bonilla

My name is, Gloria Echegoyen Miranda, mother of the accused Anderson Sam Bonilla
Echegoyen; Through this letter I state that I have been blessed to know my son from his birth to
the present day, and for me it has been a blessing at all times, to have him by my side and to
know his development at every step of his life.

For my son Anderson I can give the best references not because he is my son, but as a human
bean, he has always been a man with a very noble and pure heart, a simple person, with a lot of
humility, who liked to help others a lot as well as taking the bite out of his mouth to give it to the
needy; a very respectful, loving and tender son, who has a beautiful charisma, of which the
majority of people who know him come to love him very much, and who they like to share with
him.

A boy who took his first years of school in private Christian school, where I never had any
complaint about him, on the contrary he was always a student with honors, and with good
principles that there is a God to love, obey and respect, a God who is with us at all times, he
belonged to the Biblical school of my church in El Salvador from seven to nine years old.

And he is a wonderful brother and protector of his younger sister Stephanie whom he has always
cared for, loved, respected and pampered her a lot, helped her in time of need, and has always
motivated her to take care of herself and bring out the best of her.

I also know that my divorce hurt him a lot, but despite of this, he has never changed to bad, on
the contrary he has always maintained his principles; love for family, unity, respect , his
charisma has not boundaries for which he is notorious he never showing aggressive moments,
he has always been dynamic, as a family man he has been a wonderful, tender, noble father, he
have two beautiful daughters, J       , 13 years old, and J        4 years old, who has always
teach his two daughters principles and respect for others. The two girls suffer for the
separation, since always has been a good father, friend, teacher, confidant, so much so that his
13-year-old daughter J       B      is always looking for him especially because she found in
him a big confident to whom she can tell anything, skiing for advice and the protection that Andy
always has given to them.

He has always been a faithful provider to them, and he has always tried hard, as a husband he
was the best, respectful, loving, warm, and tender.

About an employee, he has also been a hard-working man, always wanting to do his best and
learn every day, as far as I know, no complains ever has been made of hem. He also has work




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                                    Gloria Echegoyen Miranda
                                               Winnetka, CA.
in the past in the company of my present husband Tony; he never gives as any problem in all
the time he works for him, contrary he always works more as expected from him.

He has also been a man who liked to take care his health and the health of his daughters, by
going frequently to the gym.

He NEVER showed resentment against someone, or sadness against others, his parents,
sisters, uncles, grandparents, daughters, husband, and as a friend and co-worke r, I never had
any problems or complaints from anyone , He is someone with good social relationships and a
noble heart.

It really has been a surprise to me that he has committed that type of crime; the only thing I can
believe, is that the difficult time to find a job led to that bad decision and that he never thought
how serious it was, until now. He has always been reserved in his financial matters and has
always tried to get ahead to support his family and himself.

I firmly believe that he will not commit that crime again, firstly because he has shown
repentance in the following way: he asked us {his parents) for forgiveness for the fault he
committed and led him to be in the place that he is now, forgive ne ss personally to his eldest
daughter and to the other family members who visited him in prison. And said that he was
extremely sorry to his grandparents and uncles, for have bring shame to the family for his
actions.

My son has been very frank in telling us how difficult it is for him to be deprived of his freedom
for so long and that he never imagined how difficult it is to be separated from the family, and to
have faile d socie ty, and that it is very shameful.

That he never wants to be like this again, that he recognizes that this country is a country of
opportunities and that the law must always be respected, that he needs a new opportunity to
show us that he is really sorry.

He wants to be better every day with all his family and daughters, as well as for society and that
he is willing to give his best and take advantage of every opportunity of improvement that this
great nation give him.

He says that this time of privacy of freedom helped him to meditate a lot and to see a better way
of doing things for the well-being of himself and his family first, and for society, he wants to be
an example that with another opportunity can be changed for the be tte r, and be a blessing to
all.

I think that the best help or treatment is us, his family, supporting him to get ahe ad, advising
him, helping him in all areas of his daily life and by giving hem a lot of love.

I firmly believe that people, no matter how old they are, always need the love and the support of
his family, that is one of the best medicines and above all, with the help of God. As a parent we
always advise them to work hard and honesty in the land who give has the opportunity of a
better life.



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                                   Gloria Echegoyen Miranda
                                              Winnetka, CA.
As I mentioned before, my son Anderson has told us that his plans is not to disappoint us, and
his desire is to demonstrate how sorry he is for that fault he committed , strive to be better,
prepare himself in some way academically to sick for a better better opportunities to work and
be able to continue being the responsible father with his daughters and make us feel proud of
him.

I PLEDGE to be very close to him, to help him get ahead , in these difficult time of global
pandemic; although the economy of the country is hard, I will help him in his studies, daily
support until he improve himself, I also help him morally, spiritual, and economic way within my
possibilities. I like to keep him close to our family, and especially that he never separates from
his daughters who need him so much, as a father, friend and mentor, they always need a figure
of a father and not be emotionally affected by not having him.

I am sure that God has heard my prayers for such a long time, I know that God is not unjust for
the prayer of a mother, for the pain of his daughters for losing hers papa who read a sleeping
book every night, for my son who suffer for anxiety since he was a small boy and now for been
separated from his family.

I appeal to your Honorable judge to have a favorable lenience to my son Andy.




Thank you




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                              Exhibit B
     Letter from Auerbach Antonio Miranda
      (Mr. Bonilla-Ecehgoyen’s Step-father)
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                                       Auerbach Antonio Miranda
                                                 Winnetka, CA.

July 26, 2020

To:     The Honorable
        John A. Kronstadt
        United States District Judge

Re: Anderson (Andy) Samuel Bonilla

I respectfully address your honor, advocating for the release of Andy Bonilla; and I hope that what I tell you in
this letter will serve both your honor and the competent authorities to have a favorable lenience towards Andy
Bonilla.

Andy is my stepson, and I have known him for 20 years, since he was only a teenager of about thirteen years of
age. We cannot deny that in those teenage years we are all trying to create our own identity and Andy was not
the exception.
I know Gloria, Andy's mom since she was eight years old; I emigrated to the USA in 1980, when Gloria was
thirteen years old; each one took different paths and then through the one who is now my mother-in-law, we
met again Montebello CA. in the year 2000 here in USA, I tell you this, because when I met Andy he was thirteen
year of age and a very good boy. When a visit his family for the first time, Andy parent have already problem
amount themselves, I tell you this because if we want to know why Andy is what he is now, it is necessary to
understand and analyze his life since he was a teenager.

Some, but not all, of his problems begin in the center of his family; the lack of closer vigilance, not looking
closely at the friends that he chooses. The long and odd hours of work for his parent, who wok, eight or even
twelve hours, neglecting the children supervisions, the heated arguments of the parents and later the divorce,
cause trauma to the boys of the age of Andy of that time; although his sister Stephanie was eight years of age,
she was not affected as much as Andy.

All these things contribute in one way or another to the Andy, who is in detention today. The lack of a fatherly
and motherly figure who sets limits and constantly advises for the good behavior. It difficult to point out a
specific cause of why the boys make bad decisions; often those who advise them are other inexperienced young
people like them, Children's like him and other more orders who take advantage of the inexperience and naive
teens. Since Andy was in a conflict in home, He started believing in the advice of the comrade more than his
own parents whom he seen as a controlling old people, and after the divorce, they both have to roll from house
to because every other weekend for divorce agreement amount the parent and the court.

Everybody in the family including Andy fully understand his charges, despite what we think, whether is fair or
not, This mistake of having lied to a banking institution is serious, and I think that Andy has paid more that
enough for that mistake, all these months in detention and the privacy of his freedom has been his greatest
therapy that he has received.

I am not a Judge, and do not know the writing laws, but I certainly believe that he has pay his offence to society
whit all these months in detention I certainly here the new every day, especially in these difficult times and I
get amuse to hear that some more seriously criminal receive a more linen sentences that Andy
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                                        Auerbach Antonio Miranda
                                                  Winnetka, CA.

I sincerely think that Andy has clearly understood that the first piece of advised from now on, should be from his
parents, grandparents, uncles, sister, family, before of his friends.

Andy has lived in the past under my roof and even worked in the company that I had, in the installation of
hardwood floors, he was in charge in one of my last projects in Beverly Hill, while my wife and my self where in
vacation for fifteen days. We worked for many years inside the houses of the wealthy and famous and never,
but there was never a problem with Andy or with his coworkers, he was in charge of more than five other
people, hundreds of thousands of dollars in tools and materials and that I never knew of a single screw
disappeared, tool or item from some of the houses in which we work.

I in particular will be on the lookout for Andy, developing a more genuine and sincere approach with him and
the rest of the family; Thank God I have no problems or resentments with Andy's relatives, and we have even
joined forces to help Andy with his biological father Mr. Samuel. Therefore I know that among all of us we will
help him to stand up again in our society and having our faith first in God and then in Andy in that he will be set
an example of positive reintegration within our communities and that never again have a rose with the law.

I know that he has plans to study a short career and dedicate more time to his daughters, my two beautiful
granddaughters J        and J      and I am sure that he will be able to do it; And my wife and I are willing to help
you within your means to reach your goals in your life.
Those people who have even met Andy in prison know that as a human being, worth its weight in gold, is
respectful, fair man, a collaborator and always ready to help others, I sincerely hope that both of you, Mr. Judge.
As the officers in charge of him, take this letter into a positive account of Andy.

Many thanks.




Auerbach Antonio Miranda
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                              Exhibit C
                Letter from Maria Bonilla
      (Mr. Bonilla-Echegoyen’s Ex-wife and
          Mother of their two children)
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To The Honorable John A. Kronstadt, United States District Judge,
       I am the mother of Anderson Bonilla's 2 daughters J        B       who is 12 and J
B       who is turning 5 in just a couple weeks. I was also his wife from February of 2010 until
January of 2015. We started dating mid-2007. So I have known him for 13 years now.
         Anderson is a person with a great heart and sometimes not the best judgement as we can
tell by the situation he is currently in. I'm not sure what his state of mind was at the time he was
doing what he was that landed him in his current situation. But I do know that this is not the
person he is and I believe this was a mistake he made and he will not make again. Like I've said
I've known him for quite some time. We have not always seen eye to eye but we do have a great
friendship and have well-adjusted to co-parenting. He has expressed to me his guilt and the
mistake he knows he made.
        This has been a very hard situation for him especially missing big milestones in his
daughter’s lives. He missed the first days of school from the first day of middle school and the
first day of preschool and soon he will miss another birthday and the 1st day of kindergarten.
Missing very important times has made him realize more what is important and that is his
daughters. He is planning to come out and start fresh and do better for himself which is also for
his daughters. I've seen relationships come and go with Anderson and no matter what has
happened he has always tried to be the best he can for daughters and getting back to them will
always be the best motivation he has. He loves these girls more than I can express. He has a great
support system who has stuck by him. His mother, father, sister, his daughters and myself will
always stand behind him and push him to do better. We are all here waiting and praying for his
release and here to help him succeed in life.
        I know he has made a mistake and I truly believe he has bettered himself in the time he
has been incarcerated. He is ready to come home and never return there. He is blessed with the
support system he has who is willing to do what it takes for him to never return to any facility.
He is needed out here by his daughters and his family of course but a bond with a father and
daughter can never be broken. He definitely has some making up to do for all the lost days he has
been separated from his daughters but that again is his motivation to stay out of trouble. I am
also here for him as a good friend to help support him and help him stay away from trouble. If
you knew Anderson and myself many years ago, we were never at the level of friendship we are
at now things before were an ugly sight to see but we have grown and learned to communicate to
better our relationship for our daughters. He has grown a lot as a person and I only continue to
see growth. I as a mother of his daughters know the good the bad and the ugly he has but he has
grown to show much more greatness to his way of life. We all need him out here, and are asking
you to not only put faith in him but also in us out here that are willing to support him and help
him only be the good person we know and love. Please allow him to be able to start making up
for missed milestones and allow him to be out here making memories, not just having to hear
about them.
Thank you for your time,
Maria Bonilla
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                               Exhibit D
              Letter from Stephanie Bonilla
           (Mr. Bonilla-Echegoyen’s Sister)
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 To the Honorable judge;

         It is my pleasure to write and provide a character reference for my brother Anderson
 Bonilla whom I share my twenty-eight years of life with. Anderson not only is my brother but a
 best friend in whom I could always count on. Growing up my brother helped raise me as both
 my parents were trying to make ends meet and provide for the family. Anderson taught me
 many valuable things in life from reading, swimming, cooking and becoming the woman I am
 today. He's taught me to work hard and never give up in life, pushed me and believed in me
 more than I believed in myself, furthering my education is something he continuously
 encourages me to do.

         I remember as if it was yesterday when Andy would wake me up, put my uniform
 together and cook for me just to make sure I made it to school on time. Growing up I struggled
 with weight and self-esteem and my brother always made me feel that anything was possible.
 He made it a goal of his to help me lose weight and feel better about myself physically, mentally
 even if it meant waking up at 4am to train me and motivate to want more.

         Anderson has always been a family man not only an amazing brother but the best father
 figure to his daughters, I was lucky enough to witness his transition into fatherhood when we
 shared a home. The relationship Andy and his daughter share is so beautiful, I'd love coming
 home to the two bonding over some oreos and milk watching their favorite Avengers film he
 truly makes parenting seem so easy. J        his older daughter confides in him, they have a
 friendship that any dad would like to have with a daughter. He is a patient, loving, generous,
 kind father to both daughters his energy is contagious and because of him I can't wait to have a
 family of my own.

         Anderson has the right mindset, the support from myself and his family in order to
 integrate to society once more and be successful. Anderson understands certain situations in
 life have kept him away from his loved ones and has reconsidered his outlook on life. He's
 expressed to me countless times that he will make his daughters proud, he will continue his
 education as I know he's already enrolled in classes while incarcerated. We've always talked
 about opening a nutritional cafe given his extensive knowledge in nutrition, his charisma and his
 work ethic he is going to make a valuable business partner with me.

         I don't foresee Anderson engaging in this type of behavior again but will remain vigilant. I
 plan on creating an action plan with him to reach his goals, setting tangible goals will empower
 him to strive for success. I will provide financial assistance if needed and will regularly follow up
 on him to hold him accountable for his promise to himself.

        Stephanie Bonilla
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                               Exhibit E
                 Letter from J                   B
       (Mr. Bonilla-Ecehgoyen’s 12-year old
                    Daughter)
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 07/28/2020

 Dear, The Honorable John A. Kronstadt United States District Judge

         I think my dad should be released because his crime was non-violent. Him being in
 prison is affecting all of our lives. He missed my first year of Junior year due to him being in
 prison. He also missed my younger sister going into preschool. I have a great bond with my dad
 and like to talk to him. Lately due to the calls being 5 minutes I can’t talk to him about as much
 and I miss having him with me in person.

          It’s especially hard with the 5 minute calls because I have to try and share them with my
 sister. Even if the calls were longer I think having him with us is better. He would always take
 me to get ice cream at Frostbites. We’d always get late night snacks together, like Oreos or chips.
 We loved to watch movies together. We liked to have lazy Sundays where we stayed inside
 relaxed. We’d always do things like going to trampoline parks or go ice skating. We tried
 different cooking recipes at home and made desserts. We liked to do DIY crafts at home. One
 time we made slime. Now that he’s gone I don’t do as many fun things as I used to. We liked to
 turn on the AC so the room would get freezing so we could wrap in blankets and watch scary
 movies. I don’t get to do all those things anymore.

         You should release him cause I think he’s learned his lesson. Again, he didn’t commit a
 violent crime that caused physical harm to anyone. He was always really nice to everyone around
 him. He was just a person that was well liked and fun to be around. If he’s busy he always made
 sure that we were first. He showed me different kinds of music I always seemed to enjoy. I
 would always “steal” his shirts because they smelled like him. In conclusion I believe my dad
 should be released.

 J     B
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                               Exhibit F
                Letter from Rosa Renderos
          (Mr. Bonilla-Echegoyen’s Paternal
                   Grandmother)
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 Rosa A. Renderos

 Pico Rivera, CA

 August 1, 2020

 RE: Anderson Bonilla




 To:   The Honorable Judge: Honorable John A. Kronstadt United States District Judge


           My name is Rosa Renderos and I am Anderson’s paternal grandmother. My family and I feel in
 deep embarrassment for the actions committed by my grandson. We understand he committed a crime
 and he needs to assume the consequences. Honorable Judge, I am asking you for a second chance to be
 given to my grandson; an opportunity to get his life straight and get things right. I feel he understands
 he did wrong. He has two daughters 12 and 5 years old that need him very much. He comes from a
 family of hardworking people, we respect and obey laws and do not agree with his actions. I personally
 will speak to him about the crime committed and will advise him and guide him to find a way to make it
 right. All of our family is willing to give him support in everything we can to help him start all over again
 so he doesn’t commit anymore crimes. I feel he is young and smart, still has time on his hands to mend
 his life. Study or learn a new career/trade and be able to provide financially and emotionally for his
 daughters.

         Honorable Judge, I beg you to give my grandson a second chance. I love him very much and as
 his grandmother I apologize for his actions and ask to please forgive him for his bad judgement and
 crimes committed.



 Sincerely,




 Rosa A Renderos
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                               Exhibit G
                 Letter from Jaime Bonilla
    (Mr. Bonilla-Echegoyen’s Paternal Uncle)
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 August 3, 2020



 Dear Honorable John A. Kronstadt
 United States District Judge




 My name is Jaime A. Bonilla, I am Anderson Bonilla's uncle. I was there when my nephew was born and
 he was a gift to the Bonilla family. As a child he was very obedient with his parents and family. In
 school he was a very bright child, always playing around and got along with all of his classmates.

 In his adolescence he loved playing sports and was very respectful with everyone he came across with.
 He was always very responsible and he would always listen to me and my guidance. He has strived all his
 life to be a hard working young man.

 He is the type of person you can always rely on and he is always willing to go out of his way to help you
 in any way he can. He was always busy going to the gym and trying to be a body builder.

 I know for a fact that he is a very good father to his two daughters trying his best to give them
 everything they need. He is a great human being. However, things happen in life and you find yourself in
 situations that could have been prevented. I believe that's the reason why he finds himself in the
 situation he's in right now.

 My nephew has told me various times on the phone that he feels remorse for breaking the law and that
 he has asked his parents for forgiveness and at the same time he has asked his two daughters for
 forgiveness and asked them to give him an opportunity to prove himself and has also promised them
 they will never see him in jail again.

 Anderson is a very good hearted young man with no alcohol or drug addictions. He is constantly trying
 to better himself for his two daughters ages 6 and 12. He is trying hard to be a good example to them
 and all he wants is the opportunity to prove himself and to be a good citizen.

 I believe Anderson wants to be a good citizen due to the fact that his father, uncles and aunt have
 always educated him with very high standards, principles and high morals. He is not a defiant person, he
 respects the law. Anderson has expressed to me that when he gets out, he hopes to go back to working
 as a personal trainer which is something he loves to do.

 I am personally committing myself along with the rest of the family to be there for Anderson and help
 him in any way we can. My nephew is not a defiant person, he respects the law and I promise to be
 there for him morally and physically in order to keep him out of trouble.

 I look forward to having Anderson back at home so that he can put this incident behind him. I ask that
 you give Anderson a second chance to redeem himself for the good of his two daughters and the rest of
 the family that he loves so much.

 Sincerely,

 Jaime A. Bonilla
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                               Exhibit H
    Letter from Anderson Bonilla-Ecehgoyen
                         (Client’s Letter)
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 9/16/2020



 Dear Honorable John A. Kronstadt,

       I'd like to formally express how I feel and where I stand with my actions. I
 want to first apologize to you, the courts, and my victims for my conduct and the
 trouble I’ve caused. I'm sorry and express my regrets to you. I deserved this. I
 didn't see it then, when I was committing this crime, but I do now. My actions were
 selfish and foolish.
       I want to reassure you that these last 18 months since my arrest have served
 a bigger purpose than probably intended by the court. I've spent this time reflecting
 on how I think about things and my past choices. I’ve never really done this before
 and doing so has allowed me to make the adjustments necessary in my way of
 thinking. I now want and feel the need to contribute to society in a positive way
 more than ever. I plan on doing so by being more conscious and responsible with
 the choices I make.
       Again, I apologize to you, the victims, and the court for the troubles I have
 caused. I would now like the opportunity to actualize my intentions in a free world,
 work my way up in society and be present for my kids. It's been almost two years
 and my kids need me desperately. I understand these are part of the consequences,
 which I do take responsibility for. This is, after all, a product of my choices. With
 this being said, I want you to know that I am mentally ready to get back to my life.
 Thank you for your time in reading this letter.

 Anderson Sam Bonilla-Echegoyen
